                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


Dennis Ricci and Ed Lamberg,                       )
                                                   )
              Plaintiffs,                          )
                                                   )
v.                                                 )       Case No. 3:18-cv-0771
                                                   )       Judge Campbell
                                                   )       Magistrate-Judge Holmes
Hideout Pictures, LLC,                             )
Flatwoods Productions, Inc.,                       )
Country Music Television, Inc., and                )
Viacom, Inc.,                                      )
                                                   )
              Defendants.                          )


                                          ORDER

       Pursuant to the initial case management conference order entered March 26, 2019,

Docket Entry Nos. 54, a subsequent case management conference is scheduled for August 15,

2019. The order further provided that this case management conference could be reset upon

request of the parties or by the Court based on the timing of Judge Campbell’s ruling on the

pending motion to dismiss. Counsel have jointly requested that the conference call be

rescheduled inasmuch as no ruling has yet entered on the pending motion to dismiss.

       Therefore, the subsequent case management conference will be RESCHEDULED and

held telephonically on October 1, 2019, at 10:00 a.m. (Central) to address: status of discovery

(including any known or anticipated discovery issues or disputes); a schedule for any additional

damages discovery; prospect for settlement (including propriety of ADR); whether any

modifications to the case management schedule are needed due to the status of the motion to




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dismiss; bifurcation of trial (including procedures); scheduling of another case management

conference; and, any other appropriate matters. Plaintiffs’ counsel shall initiate the call.

       It is so ORDERED.




                                                      BARBARA HOLMES
                                                      United States Magistrate Judge




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